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 8                      UNITED STATES DISTRICT COURT
 9        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
10
     DONALD SLAUGHTER, Sr., an              CASE NO.:
11   Individual; SF TRUST, LLC, a Florida
     Limited Liability Corporation;         COMPLAINT FOR:
12
                       Plaintiffs,           1. Breach of Written Employment
13                                              Contract;
                 vs.
14                                           2. Breach of Written Consulting
     Penthouse Global Media, Inc., a            Agreement;
15   Delaware Corporation; Kelly Holland,
     an Individual.                          3. Breach of Written Agreement;
16
                       Defendants            4. Breach of Implied Covenant of
17                                              Good Faith and Fair Dealing;
18                                           5. Wrongful Termination;
19                                           6. Failure to Pay Wages;
20                                           7. Failure to Provide Wage
                                                Statements (Labor Code Sec. 226);
21
                                             8. Waiting Time Penalties;
22
                                             9. Breach of Fiduciary Duty;
23
                                             10. Defamation.
24
                                               JURY TRIAL REQUESTED
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 1         Plaintiff Donald Slaughter, Sr. (hereinafter “Slaughter” or “Plaintiff
 2   Slaughter”) and SF Trust, LLC (hereinafter “SF Trust” or “Plaintiff SF Trust” and,
 3   together with Slaughter referred to as “Plaintiffs”) allege and state as follows:
 4                             JURISDICTION AND VENUE
 5         1.     This Court has jurisdiction over this action and the matters alleged
 6   herein pursuant to the following statutes: (a) Diversity jurisdiction pursuant to 28
 7   U.S.C. §1332(a); and Supplemental jurisdiction pursuant to 28 U.S.C. §1367.
 8         2.     At all times relevant herein, Plaintiff Slaughter was, and is, an
 9   individual residing in the State of Florida.
10         3.     At all times relevant herein, SF Trust was, and is, a Limited Liability
11   Corporation organized under the Laws of the State of Florida with principal place
12   of business in Florida.
13         4.     Defendant Penthouse Global Media, Inc. (“Defendant Penthouse” or
14   “PGMI”) is a Delaware corporation with principal place of business in Chatsworth,
15   California. Defendant Penthouse is an adult entertainment brand that conducts
16   business in the broadcast, publishing, licensing and digital spaces.
17         5.     Plaintiffs are informed and believe and thereon allege, Defendant
18   Kelly Holland (“Defendant Holland”) is an individual residing in the State of
19   California. Defendant Holland is the CEO and majority shareholder of Defendant
20   Penthouse.
21         6.     The amount in controversy herein exceeds the sum or value of
22   $75,000.00 and will be established according to proof at trial.
23         7.     This Court has jurisdiction over Defendant Penthouse and Defendant
24   Holland, because, upon information and belief, Defendants have sufficient
25   minimum contracts in California or otherwise intentionally avail themselves of the
26   California market so as to render the exercise of jurisdiction over them by this
27   Court consistent with traditional notions of fair play and substantial justice.
28         8.     Venue is proper in this judicial district, because, upon information and

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 1   belief, each of the named Defendants resides, transacts business, or has offices in
 2   this county, and/or the acts or omissions that gave rise to this Complaint occurred in
 3   this judicial district.
 4                   FACTS COMMON TO ALL CAUSES OF ACTION
 5          9.     Slaughter Hired to Facilitate Acquisition of Penthouse Brand and
 6   Companies: On or about May of 2015, Plaintiff Slaughter, a finance professional
 7   by trade, was contacted by Defendant Holland regarding her intention to acquire the
 8   Penthouse family of companies from their current owner, Friend Finder Networks,
 9   Inc. (“FFN”). Defendant Holland had negotiated the purchase of these companies,
10   but was not able to finance the acquisition and was desperate to find any lender or
11   investor who would be willing to back the deal. Plaintiff Slaughter and Defendant
12   Penthouse, acting through Defendant Holland, entered into an agreement under
13   which Plaintiff Slaughter would apply his expertise in order to obtain financing for
14   the acquisition and, in exchange, Plaintiff Slaughter would receive consideration
15   that included five percent of the total price of the transaction upon the successful
16   close of escrow. However, by the time Plaintiff Slaughter was brought on board,
17   FFN had terminated the escrow and was pursuing other potential deals. Defendant
18   Holland instructed Plaintiff Slaughter to continue to work on the acquisition and
19   had him perform a number of duties including assembling a financing facility or
20   “syndicate,” working on a post-acquisition plan, negotiating and drafting a Master
21   License Agreement with Robert Gans, and advising Defendant Holland on every
22   aspect of the transaction. In November of 2015, FFN agreed to sell to Defendant
23   Penthouse. At this time, Defendant Holland approached Plaintiff Slaughter about
24   revising the terms of his engagement. Thereafter, Defendant Holland (in her
25   individual capacity), Defendant Penthouse, and Plaintiff Slaughter entered into a
26   written agreement that provided, inter alia, that Plaintiff Slaughter would be paid a
27   commission equal to 1.5% of the total acquisition price upon the close of escrow
28   (the “Acquisition Financing Agreement,” a true and correct copy of which is

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 1   attached hereto as Exhibit A). Plaintiff Slaughter worked quickly to muster the
 2   financing needed to make sure the deal did not fall through a second time. He
 3   assembled the financing facility/syndicate and Defendant Penthouse was able to
 4   leverage the syndicate into a loan with another firm. The acquisition of the
 5   Penthouse companies from FFN closed on or about February 19, 2016. The total
 6   value of the acquisition transaction was approximately $9.5 million, making the
 7   amount owed to Plaintiff Slaughter at closing approximately $142,000.00. To date,
 8   Defendants have paid Plaintiff Slaughter approximately $36,000 of the amount
 9   owed under the Acquisition Financing Agreement. The remaining balance has
10   never been paid.
11         10.    Plaintiff Slaughter Hired as an Employee by Defendant Penthouse
12   and Terminated Before End of Employment Term: In December of 2015,
13   Defendant Holland offered Plaintiff Slaughter employment with Defendant
14   Penthouse. After discussing his role and compensation, Plaintiff Slaughter and
15   Defendant Penthouse entered into a written Employment Agreement on February
16   23, 2016. A true and correct copy of the Employment Agreement is attached hereto
17   as Exhibit B. Pursuant to the Employment Agreement, Plaintiff Slaughter received
18   a base annual salary of $65,000.00. The Offer of Employment further provided,
19   “Your employment is for 5 years from the date of hire.” There are no provisions in
20   the Employment Agreement stating that Plaintiff Slaughter would be an at-will
21   employee and there are no provisions granting Defendant Penthouse the ability to
22   terminate Plaintiff Slaughter’s employment for any reason, including “good cause,”
23   prior to the expiration of the five-year term. Plaintiff Slaughter accepted the
24   Employment Agreement on February 23, 2016.
25         11.    Defendant Penthouse Enters Into Consulting Agreement With
26   Plaintiff SF Trust LLC: At the same that Plaintiff Slaughter and Defendant
27   Penthouse were discussing terms of employment for Plaintiff Slaughter, they also
28   negotiated a consulting agreement between Defendant Penthouse and Plaintiff SF

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 1   Trust, LLC. This agreement was formalized into a written “Consulting Agreement”
 2   effective February 19, 2016 and executed by Plaintiff Slaughter and Holland on or
 3   around that date. A true and correct copy of the Consulting Agreement is attached
 4   hereto as Exhibit C. Pursuant to the Consulting Agreement, Plaintiff SF Trust was
 5   to provide the following services:
 6                a. Establish and implement written strategic growth plans for
 7                the Client and its affiliated organizations which shall be
 8                consistently updated and kept current;
 9                b. Identify and facilitate the development of new business
10                relationships across the Client’s business units, including
11                without limitation, corporate, broadcast, licensing, publishing,
12                and digital matters (which shall include the securing of
13                potential contracts); and
14                      Other services as so agreed to by the parties.
15   In exchange for these services, Plaintiff SF Trust was to be paid seven thousand
16   five hundred dollars on a monthly basis. The Consulting Agreement provides, “The
17   term of this Agreement shall be five years.” It does not contain any provisions
18   allowing for termination of the Consulting Agreement prior to the expiration of the
19   five-year term.
20         12.    Plaintiffs Perform Under their Respective Agreements: Between
21   February 2016 and September 2017, Plaintiffs Slaughter and SF Trust performed all
22   duties required under their respective written agreements with Defendant
23   Penthouse. Plaintiff Slaughter’s accomplishments during this period included
24   reorganizing an unwieldly network of 16 companies into four business unit
25   subsidiaries under Penthouse Global Media, Inc. and building an entire corporate
26   infrastructure for Defendant Penthouse including establishing general operations,
27   obtaining insurance, and establishing key operational departments such as
28   accounting, human resources, and finance. Plaintiff Slaughter also negotiated both

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 1   an extension and a reduction in interest rate of Defendant Penthouse’s operational
 2   loan.    Acting in his business development role as Plaintiff SF Trust, Plaintiff
 3   Slaughter closed the sale of Defendant Penthouse’s Master Club license and was
 4   responsible for a number of additional initiatives to strength and expand Defendant
 5   Penthouse’s business. In March of 2017, in recognition of these accomplishments,
 6   Defendant Penthouse bonused Plaintiff SF Trust $20,000 and increased its monthly
 7   payment to SF Trust to $12,000.00.       At that time, Defendant Penthouse also
 8   increased Plaintiff’s Slaughter’s compensation by $20,000.00 annually.
 9           13.   Holland’s Bad Faith Actions: Even as Plaintiff Slaughter worked
10   tirelessly to launch and grow Defendant Penthouse’s business, Defendant Holland
11   was doing everything humanly possible to offset the progress made by the
12   company. Defendant Holland was abusive to Defendant Penthouse’s employees,
13   engaging not only in daily verbal abuse of company personnel, but also more
14   extreme behavior such as giving male sexual enhancement pills to male employees
15   while stating that they needed them because they were all sexually dysfunctional
16   and placing canine excrement on the desk of Defendant Penthouse’s in-house
17   counsel as a comment on the quality of this employee’s work. Defendant Holland
18   also terminated key members of the PGMI team, including the company’s sole PHP
19   digital programmer,; its CTO; its production coordinator; and its Executive Editor,
20   based on interpersonal conflicts she had with them over a period of two months. As
21   a result, PGMI had to frequently address employee complaints about Holland and
22   had substantial difficulty retaining employees. Defendant Holland violated the
23   terms of Defendant Penthouse’s loans by paying herself additional undisclosed
24   compensation, entering into agreements that caused the Company to incur more
25   debt and borrowing from PGMI’s publishing distributor. Defendant Holland
26   ignored and dismissed the business plan developed by Plaintiff Slaughter and key
27   stakeholders in the Company. She also purposefully refused to pay the Company’s
28   lenders in full and refused to pay key vendors, including legal counsel. In a final

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 1   stroke, Defendant Holland unilaterally terminated Plaintiff Slaughter’s employment
 2   and Plaintiff SF Trust’s consulting engagement on September 18, 2017.
 3                             FIRST CAUSE OF ACTION
 4     (Breach of Written Employment Contract– Against Defendant Penthouse)
 5         14.    Plaintiffs refer to and incorporate herein by reference paragraphs 1
 6   through 13 as though fully set forth herein.
 7         15.    On February 23, 2016, Defendant Penthouse and Plaintiff Slaughter
 8   entered into a written Employment Agreement (Exhibit B).
 9         16.    The Employment Agreement provides, “Your employment is for 5
10   years from the date of hire.” The Employment Agreement does not provide for at-
11   will employment and it does not provide for any circumstances under which
12   Defendant Penthouse would be authorized to terminate Plaintiff Slaughter’s
13   employment prior to the expiration of the employment term.
14         17.    Plaintiff Slaughter performed all duties required of him under the
15   Employment Agreement.
16         18.    On or about September 18, 2017, Defendant Penthouse breached the
17   Employment Agreement by terminating Plaintiff Slaughter’s Employment.
18         19.    As a result of Defendant Penthouse’s breach of contract, Plaintiff
19   Slaughter has been damaged in an amount to be determined at trial.
20                            SECOND CAUSE OF ACTION
21     (Breach of Written Consulting Agreement– Against Defendant Penthouse)
22         20.    Plaintiff refers to and incorporates herein by reference paragraphs 1
23   through 19 as though fully set forth herein.
24         21.    Effective February 19, 2016, Defendant Penthouse and Plaintiff SF
25   Trust entered into a written Consulting Agreement (Exhibit C).
26         22.    The Consulting Agreement provides, “The term of this Agreement
27   shall be five years.”     The Consulting Agreement does not provide for any
28   circumstances under which Defendant Penthouse would be authorized to terminate

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 1   the agreement prior to the expiration of the employment term.
 2            23.   Plaintiff SF Trust performed all duties required of it under the
 3   Consulting Agreement.
 4            24.   On or about September 18, 2017, Defendant Penthouse breached the
 5   Consulting Agreement by terminating its contractor relationship with Plaintiff SF
 6   Trust.
 7            25.   As a result of Defendant Penthouse’s breach of contract, Plaintiff SF
 8   Trust has been damaged in an amount to be determined at trial.
 9                               THIRD CAUSE OF ACTION
10                  (Breach of Written Agreement– Against All Defendants)
11            26.   Plaintiffs refer to and incorporate herein by reference paragraphs 1
12   through 25 as though fully set forth herein.
13            27.   On or around November of 2015, Defendant Holland, Defendant
14   Penthouse and Plaintiff Slaughter entered into the Acquisition Financing
15   Agreement, under which Plaintiff Slaughter would assist Defendant Penthouse in
16   the acquisition of the Penthouse brand and companies in exchange for consideration
17   that included a payment of 1.5% of the total consideration paid in the acquisition
18   upon close of the transaction.
19            28.   Plaintiff Slaughter performed under this oral agreement and the
20   acquisition closed on or around February 19, 2016.
21            29.   In breach of the terms of the oral agreement, Defendant Penthouse has
22   only paid Plaintiff Slaughter approximately $36,000.00 of the approximately
23   $142,000.00 owed under the Acquisition Financing Agreement.
24            30.   As a result of Defendant Penthouse’s conduct, Plaintiff has been
25   damaged in an amount to be ascertained at trial.
26                              FOURTH CAUSE OF ACTION
27       (Breach of Implied Covenant of Good Faith and Fair Dealing – Against
28                                    Defendant Penthouse)

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 1         31.    Plaintiffs refer to and incorporate herein by reference paragraphs 1
 2   through 30 as though fully set forth herein.
 3         32.    Effective February 19, 2016, Plaintiff SF Trust LLC entered into the
 4   Consulting Agreement with Defendant Penthouse.
 5         33.    On or about February 23, 2016, Plaintiff Slaughter entered into an
 6   Employment Agreement with Defendant Penthouse.
 7         34.    Implicit and implied in both the Consulting Agreement and the
 8   employment agreement between Defendant Penthouse and Plaintiff Slaughter, are
 9   covenants of good faith and fair dealing.
10         35.    Defendant Penthouse breached its covenants of good faith and fair
11   dealing by terminating its agreements with Plaintiff Slaughter and Plaintiff SF Trust
12   prior to the expiration of the contract terms.
13         36.    Defendant Penthouse also breached its covenants of good faith and fair
14   dealing through the bad faith misconduct of its CEO, Kelly Holland, as alleged in
15   Paragraph 13, above.
16         37.     As a result of Defendant Penthouse’s actions, Plaintiffs have been
17   damaged in an amount to be determined at trial.
18                               FIFTH CAUSE OF ACTION
19               (Wrongful Termination– Against Defendant Penthouse)
20         38.    Plaintiffs refer to and incorporate herein by reference paragraphs 1
21   through 37 as though fully set forth herein.
22         39.    Plaintiff Slaughter was employed by Defendant Penthouse pursuant to
23   the Employment Agreement, which provided for a five-year term of employment.
24   Plaintiff Slaughter alleges that this was a guarantee of employment that did not
25   allow Defendant Penthouse to terminate him during the five-year duration of the
26   contract.   Nevertheless,    Defendant      Penthouse   wrongfully   terminated     his
27   employment on or about September 18, 2017.
28

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  1         40.    As a result of Defendant Penthouse’s illegal conduct, Plaintiff has
  2   suffered and continues to suffer substantial losses in earnings and other
  3   employment benefits, has incurred attorneys’ fees and medical bills, all to his
  4   damage in excess of the minimum jurisdiction of this court, the precise amount to
  5   be proved at the time of trial. Plaintiff claims such amount as damages together
  6   with prejudgment interest pursuant to Civil Code Section 3287 and/or any other
  7   provision of law providing for pre-judgment interest.
  8         41.    As a result of Defendant Penthouse’s illegal conduct, Plaintiff
  9   Slaughter has suffered and continues to suffer substantial anxiety, humiliation,
 10   mental anguish, embarrassment, worry, sleeplessness, mental and emotional
 11   distress, loss of reputation, and other incidental damages and out-of-pocket
 12   expenses, all to Plaintiff's general damage in excess of the minimum jurisdiction of
 13   this court, with the precise amount to be proved at the time of trial.
 14         42.    Defendant Penthouse, in performing the acts alleged above, acted with
 15   a conscious disregard of Plaintiff Slaughter’s rights, and with the intent to vex,
 16   injure and annoy Plaintiff; such as to constitute oppression, fraud or malice under
 17   California Civil Code § 3294 thereby entitling Plaintiff Slaughter to exemplary or
 18   punitive damages.
 19                              SIXTH CAUSE OF ACTION
 20                (Failure to Pay Wages – Against Defendant Penthouse)
 21         43.    Plaintiffs refer to and incorporate herein by reference paragraphs 1
 22   through 42 as though fully set forth herein.
 23         44.    California Labor Code section 204(a) provides that all wages earned
 24   by any person in any employment are due and payable twice during each calendar
 25   month, on days designated in advance by the employer as the regular paydays.
 26         45.    At all times relevant herein, Plaintiff Slaughter was promised
 27   compensation in the amount of 1.5% of the acquisition price of the Penthouse
 28   Brand and Companies under the terms of the Acquisition Financing Agreement (an

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  1   amount equal to approximately $142,000.00).
  2         46.    Plaintiff Slaughter performed work for the benefit of Defendant
  3   Penthouse under the Acquisition Financing Agreement, including, but not limited
  4   to, assembling the financing instrument that was critical to Defendant Penthouse’s
  5   acquisition of the Penthouse brand and companies.
  6         47.    To date, Defendant Penthouse has not paid all wages owed, having
  7   only paid approximately $36,000.00 out of the approximately $142,000.00 owed to
  8   Plaintiff Slaughter.
  9         48.    Plaintiff is entitled to recover the unpaid balance of wages owed,
 10   penalties, including penalties available pursuant to California Labor Code section
 11   558, plus interest, and reasonable attorneys’ fees and costs of suit according to
 12   California Labor Code section 1194, et seq.
 13                           SEVENTH CAUSE OF ACTION
 14         (Failure to Provide Itemized Wage Statements – Against Defendant
 15                                       Penthouse)
 16         49.    Plaintiffs refer to and incorporate herein by reference paragraphs 1
 17   through 48 as though fully set forth herein.
 18         50.    California Labor Code section 226(a) provides that every employer
 19   shall, semi-monthly or at the time of each payment of wages, furnish each of his or
 20   her employees, either as a detachable part of the check, draft, or voucher paying the
 21   employee’s wages, or separately when wages are paid by personal check or cash, an
 22   accurate itemized statement in writing showing gross wages earned.
 23         51.    Plaintiff Slaughter is informed and believes, and based thereon alleges,
 24   that throughout this time period, Defendant Penthouse repeatedly failed to furnish
 25   accurate, itemized wage statements in writing showing all wages earned.
 26         52.    As a result of Defendant Penthouse’s conduct, Plaintiff Slaughter has
 27   been damaged and is entitled to recover the greater of actual damages or $50.00 for
 28   the initial pay period in which a violation occurred and $100.00 for each violation

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  1   in a subsequent pay period, not exceeding an aggregate penalty of $4,000.00, in an
  2   amount to be determined at trial.
  3         53.    In addition, as a direct result of the conduct of Defendant Penthouse,
  4   Plaintiff was forced to incur substantial attorney’s fees and costs which are
  5   recoverable under California Labor Code section 226(e) in an amount to be
  6   determined at trial.
  7                            EIGHTH CAUSE OF ACTION
  8    (Failure to Pay All Wages Upon Termination – Against Defendant Penthouse)
  9         54.    Plaintiffs refer to and incorporate herein by reference paragraphs 1
 10   through 53 as though fully set forth herein.
 11         55.    Pursuant to California Labor Code sections 201-203, if an employer
 12   discharges an employee, the wages earned and unpaid at the time of discharge are
 13   due and payable immediately.
 14         56.    Plaintiff Slaughter is informed and believes, and based thereon alleges,
 15   that he was terminated from his employment with Defendant Penthouse and did not
 16   receive compensation for all wages owed at the time of termination, within the time
 17   limits set forth in California Labor Code sections 201-203.
 18         57.    Therefore, Plaintiff is entitled to restitution and penalties as provided
 19   by California Labor Code section 203.
 20                             NINTH CAUSE OF ACTION
 21               (Breach of Fiduciary Duty – Against Defendant Holland)
 22         58.    Plaintiffs refer to and incorporate herein by reference paragraphs 1
 23   through 57 as though fully set forth herein.
 24         59.    Plaintiff Slaughter is a member of the board of directors of Defendant
 25   Penthouse and is a minority shareholder in the company, owning approximately
 26   10% of the company’s stock.
 27         60.    Plaintiff Slaughter is informed and believes that Defendant Holland is
 28   the majority shareholder in Defendant Penthouse, holding 50% of the company’s

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  1   stock. She has also served as Defendant Penthouse’s Chief Executive Officer since
  2   its inception.
  3            61.   Plaintiff alleges that, by virtue of her status as majority shareholder
  4   and CEO, Defendant Holland owes a fiduciary duty to all minority shareholders,
  5   including Plaintiff Slaughter.
  6            62.   “There is a strong public interest in assuring that corporate officers,
  7   directors, majority shareholders and others are faithful to their fiduciary obligations
  8   to minority shareholders.” Meister v. Mensinger, 230 Cal.App.4th 381, 395 (2014).
  9            63.   Plaintiff is informed and believes, and thereon alleges, that Defendant
 10   Holland has breached her fiduciary duties by engaging in activities that include but
 11   are not limited to: consciously disregarding her duties to the Company, engaging in
 12   intentional acts with a purpose other than that of advancing the best interests of the
 13   corporation, engaging in self-dealing, failing to competently perform her duties as
 14   CEO, intentionally engaging in actions to disrupt and divide Defendant Penthouse’s
 15   workforce, and failing to disclose transactions that violated Defendant Penthouse’s
 16   contractual agreements.
 17            64.   Plaintiff Slaughter is informed and believes, and thereon alleges that
 18   he has been damaged by Defendant Holland’s actions in an amount to be proved at
 19   trial.
 20            65.   Plaintiff Slaughter further alleges that an accounting is necessary to
 21   determine the extent of harm occasioned by Defendant Holland’s actions and a
 22   constructive trust is necessary to prevent further harm.
 23                               TENTH CAUSE OF ACTION
 24                              (Defamation – Against Holland)
 25            66.   Plaintiffs refer to and incorporate herein by reference paragraphs 1
 26   through 65 as though fully set forth herein.
 27            67.   Plaintiff is informed and believes, and thereon alleges, that in October
 28   of 2017 while attending the MIPCOM industry event, Defendant Holland stated to

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  1   one or more third parties who were not employed by Defendant PGMI that Plaintiff
  2   had “embezzled” and/or “stole” funds from Penthouse during his tenure as an
  3   employee of the Company.
  4         68.    Plaintiff is informed and believes, and thereon alleges, that Defendant
  5   Holland’s defamatory statements were presented as statements of actionable fact
  6   and/or implied the existence of defamatory facts, based on the phrasing, context and
  7   understanding of the persons to whom the statements were directed.
  8         69.    Plaintiff is informed and believes, and thereon alleges, that Defendant
  9   Holland’s defamatory statements were false, incorrect and/or incomplete.
 10         70.    Plaintiff is informed and believes, and thereon alleges, that Defendant
 11   Holland’s statements were of a nature so as to harm Plaintiff’s reputation, standing
 12   and esteem in the eyes of the person(s) to whom they were published and the adult
 13   entertainment industry in general.
 14         71.    Plaintiff is informed and believes, and thereon alleges, that Defendant
 15   Holland’s statements were made with actual malice in that they were knowingly
 16   false and/or made with reckless disregard of their falsity.
 17         72.    As a result of Defendant Holland’s illegal conduct, Plaintiff has
 18   suffered and continues to suffer substantial losses in earnings and financial
 19   opportunity and has suffered injury to his personal and professional reputation, all
 20   to his damage in excess of the minimum jurisdiction of this court, the precise
 21   amount to be proved at the time of trial. Plaintiff claims such amount as damages
 22   together with prejudgment interest pursuant to Civil Code Section 3287 and/or any
 23   other provision of law providing for pre-judgment interest.
 24         73.    As a result of Defendant Holland’s illegal conduct, Plaintiff Slaughter
 25   has suffered and continues to suffer substantial anxiety, humiliation, mental
 26   anguish, embarrassment, worry, sleeplessness, mental and emotional distress, loss
 27   of reputation, and other incidental damages and out-of-pocket expenses, all to
 28

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  1   Plaintiff's general damage in excess of the minimum jurisdiction of this court, with
  2   the precise amount to be proved at the time of trial.
  3         74.    Defendant Holland, in performing the acts alleged above, acted with a
  4   conscious disregard of Plaintiff Slaughter’s rights, and with the intent to vex, injure
  5   and annoy Plaintiff; such as to constitute oppression, fraud or malice under
  6   California Civil Code § 3294 thereby entitling Plaintiff Slaughter to exemplary or
  7   punitive damages.
  8         WHEREFORE, Plaintiffs pray for judgment against Defendant Penthouse,
  9   Defendant Holland, and DOES 1 through 100, inclusive, and each of them, jointly
 10   and severally, as follows:
 11                            ON THE FIRST CAUSE OF ACTION
 12         1.     For lost wages and benefits and other monetary relief in
 13                an amount to be determined at trial;
 14         2.     For compensatory damages in an amount to be
 15                determined at trial;
 16         3.     For general and special damages in an amount to be
 17                determined at trial;
 18         4.     For an accounting; and
 19         5.     Attorneys’ fees and costs in an amount to be determined
 20                at trial.
 21                        ON THE SECOND CAUSE OF ACTION
 22         1.     For monetary relief in an amount to be determined at trial;
 23         2.     For compensatory damages in an amount to be
 24                determined at trial;
 25         3.     For general and special damages in an amount to be
 26                determined at trial;
 27         4.     For an accounting; and
 28         5.     Attorneys’ fees and costs in an amount to be determined

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  1               at trial.
  2                           ON THE THIRD CAUSE OF ACTION
  3         1.    For lost wages and benefits and other monetary relief in
  4               an amount to be determined at trial;
  5         2.    For compensatory damages in an amount to be
  6               determined at trial;
  7         3.    For general and special damages in an amount to be
  8               determined at trial;
  9         4.    For an accounting; and
 10         5.    Attorneys’ fees and costs in an amount to be determined
 11               at trial.
 12                        ON THE FOURTH CAUSE OF ACTION
 13         1.    For monetary relief in an amount to be determined at trial;
 14         2.    For compensatory damages in an amount to be
 15               determined at trial;
 16         3.    For general and special damages in an amount to be
 17               determined at trial; and
 18         4.    Attorneys’ fees and costs in an amount to be determined
 19               at trial.
 20                           ON THE FIFTH CAUSE OF ACTION
 21         1.    For compensatory damages in an amount to be
 22               determined at trial;
 23         2.    For general and special damages in an amount to be
 24               determined at trial; and
 25         3.    For punitive damages in an amount to be determined at
 26               trial.
 27                           ON THE SIXTH CAUSE OF ACTION
 28         1.    That the Court declare, adjudge, and decree that

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                                             COMPLAINT
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  1               Defendant Penthouse violated California Labor Code
  2               sections 204, 510, and 1194;
  3         2.    For unpaid minimum, regular, overtime, and/or double
  4               time wages and such general and special damages as may
  5               be appropriate;
  6         3.    For pre-judgment interest on any unpaid compensation
  7               commencing from the date such amounts were due until
  8               paid in full;
  9         4.    For reasonable attorneys’ fees and for costs of suit
 10               incurred herein; and
 11         5.    For such other and further relief as the Court may deem
 12               fair and appropriate.
 13                      ON THE SEVENTH CAUSE OF ACTION
 14         1.    That the Court declare, adjudge, and decree that
 15               Defendant Penthouse violated California Labor Code
 16               section 226(a) and applicable IWC Wage Orders as to
 17               Plaintiff and Class members, and willfully failed to
 18               provide accurate, itemized wage statements thereto;
 19         2.    For all actual, consequential, and incidental losses and
 20               damages according to proof;
 21         3.    For statutory penalties, pursuant to California Labor
 22               Code section 226(e);
 23         4.    For injunctive relief to ensure compliance with this
 24               section, pursuant to California Labor Code section
 25               226(h); and
 26         5.    For such other and further relief as the Court may deem
 27               fair and appropriate.
 28                  ON THE EIGHTH CAUSE OF ACTION

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                                          COMPLAINT
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  1         1.    That the Court declare, adjudge, and decree that
  2               Defendant Penthouse violated California Labor Code
  3               sections 201, 202, and 203 and is subject to penalties
  4               pursuant to California Labor Code section 203;
  5         2.    For an award of penalties pursuant to California Labor
  6               Code section 203 to Plaintiff and all Class members in an
  7               amount to be determined at trial; and
  8         3.    For such other and further relief as the Court may deem
  9               fair and appropriate.
 10                        ON THE NINTH CAUSE OF ACTION
 11         1.    For compensatory damages in an amount to be
 12               determined at trial;
 13         2.    For general and special damages in an amount to be
 14               determined at trial;
 15         3.    For restitution of all profits and gains resulting from
 16               Defendant Holland’s breach of fiduciary duty;
 17         4.    Accounting;
 18         5.    Constructive Trust; and
 19         6.    For punitive damages in an amount to be determined at
 20               trial.
 21                    ON THE TENTH CAUSE OF ACTION
 22         1.    For compensatory damages in an amount to be
 23               determined at trial;
 24         2.    For general and special damages in an amount to be
 25               determined at trial; and
 26         3.    For punitive damages in an amount to be determined at
 27               trial.
 28                         AS TO ALL CAUSES OF ACTION:

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                                             COMPLAINT
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  1         1.    For an award of reasonable attorneys’ fees, costs, expert costs,
  2               and expenses pursuant to statutory and common law; and
  3         2.    For such other and further relief as this Court may deem just,
  4               fair, and proper.
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      DATED: November 6, 2017                      Respectfully Submitted,
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                                                   ADEPT EMPLOYMENT LAW, APC
  7

  8                                                /s/ Gregory P. Wong
                                                  _____________________________
  9                                               Gregory P. Wong
 10                                               Attorneys for Plaintiffs Slaughter and
                                                  SF Trust, LLC
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                                          COMPLAINT
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  1                            DEMAND FOR JURY TRIAL
  2         Plaintiff hereby demands a trial by jury as provided in Rule 38(a) of the
  3   Federal Rules of Civil Procedure.
  4
      DATED: November 6, 2017                       Respectfully Submitted,
  5
                                                    ADEPT EMPLOYMENT LAW, APC
  6

  7                                                  /s/ Gregory P. Wong
                                                    _____________________________
  8                                                 Gregory P. Wong
  9                                                 Attorneys for Plaintiffs Slaughter and
                                                    SF Trust, LLC
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